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Case: 1:12-cv-06466 Document #: 1 Filed: 08/15/12 Page 2 of 30 PageID #:2
Case: 1:12-cv-06466 Document #: 1 Filed: 08/15/12 Page 3 of 30 PageID #:3
Case: 1:12-cv-06466 Document #: 1 Filed: 08/15/12 Page 4 of 30 PageID #:4
Case: 1:12-cv-06466 Document #: 1 Filed: 08/15/12 Page 5 of 30 PageID #:5
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